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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


DISTRICT OF COLUMBIA

                Plaintiff,

v.
                                     Civ. Action No. 20-1809 (EGS)
ELEVATE CREDIT, INC.

                   Defendant.


                                 ORDER

     For the reasons stated in the accompanying Memorandum

Opinion, it is hereby

     ORDERED that Plaintiff’s Motion to Remand to State Court,

ECF No. 15, is GRANTED; and it is further

     ORDERED that this case is remanded to the Superior Court of

the District of Columbia.

     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          July 15, 2021
